AQ 72A
(Rev. 8/82)

 

Case 2:21-cv-00070-LGW-BWC Document 8 Filed 10/27/21 Page 1 of 2

In the Gunited States District Court
For the Southern District of Georgia

Brunswick Division

JAMOHL AARON SWANN, *
*

Movant, * CIVIL ACTION NO.: 2:21-cv-70
v. *
*

UNITED STATES OF AMERICA, * (Case No.: 2:19-cr-62)
*
Respondent. *
ORDER

After an independent and de novo review of the entire
record, the Court concurs with the Magistrate Judge’s Report and
Recommendation. Dkt. No. 7. Movant Jamohl Swann (“Swann”) did
not file Objections to this Report and Recommendation.

Accordingly, the Court ADOPTS the Magistrate Judge’s Report
and Recommendation as the opinion of the Court, GRANTS as
unopposed Respondent’s Motion to Dismiss, DISMISSES without
prejudice Swann’s 28 U.S.C. § 2255 Motion to Vacate, Set Aside,
or Correct his Sentence, DIRECTS the Clerk of Court to CLOSE
this case and enter the appropriate judgment of dismissal, and

DENIES Swann a Certificate of Appealability and in forma

 
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(Rev. 8/82)

 

Case 2:21-cv-00070-LGW-BWC Document 8 Filed 10/27/21 Page 2 of 2

pauperis status on appeal.

 
   
  

SO ORDERED, this

 

 

ISA GODBEY WOOD, JUDGE
D STATES DISTRICT COURT
OUVTHERN DISTRICT OF GEORGIA

 
